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                       In the United States District Court
                       for the Northern District of Texas
                                Dallas Division

Angela Police,

     Plaintiff,

v.                                                  Civil Action No. 3:17-cv-635
Howard Mayfield and PCC
Refrigerated Express Inc. d/b/a PCC
Transportation,
    Defendant.                                      Jury Demanded


                  Index of Matters Being Filed with Removal

EXHIBIT A:          Index of Matters Being Filed With Removal.

EXHIBIT B:          State Court Docket Sheet.

EXHIBIT C:          Copies of all Process, Pleadings, Orders, and Other Filings in
                    the State Court Action:

                    C-1:   Plaintiff’s Original Petition, filed in the 160th Judicial
                           District of Dallas County, on December 7, 2016.

                    C-2:   Civil Case Information Sheet, filed with the Court
                           December 7, 2016.

                    C-3:   Request to Issue Citations, filed December 7, 2016.

                    C-4:   Return of Service, filed January 10, 2017.

                    C-5:   Defendant Howard Mayfield’s Original Answer, filed
                           with the 160th Judicial District of Dallas County on
                           January 13, 2017.

                    C-6:   Plaintiff’s First Amended Petition, filed in the 160th
                           Judicial District of Dallas County, on February 6, 2017.

                    C-7:   Citation, issued February 8, 2017.

                    C-8:   Return of Service, filed February 22, 2017




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                 C-9:   Defendant PCC Refrigerated Express Inc. d/b/a PCC
                        Transportation’s Original Answer, filed with the 160th
                        Judicial District of Dallas County on February 27, 2017.

EXHIBIT D:       List of All Counsel of Record.

EXHIBIT E:       Name and Address of State Court.

EXHIBIT F:       Certificate of Interested Persons.




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